Case 6:20-cv-00180-JDK Document 82-2 Filed 03/05/21 Page 1 of 4 PageID #: 2890




                     EXHIBIT “2”
        Case 6:20-cv-00180-JDK Document 82-2 Filed 03/05/21 Page 2 of 4 PageID #: 2891




Ram Ohan Yadav Kotamaraja <ram.dhan@gmail.com>
to Jon, me, Raj •

Sounds good. I will work on it and send it back to you.




[Meoooge clipped] View entire meooog_g




Ram Ohan Yadav Kotamaraja <ram.dhan@gmail.com>
to Jon, me, Raj •

Jon,

I faxed it to you. l et me know if you got it



On Thursday, January 26, 2012, Ram Ohan Yadav Kotamaraja <ram.dhan@gmail.com> wrote:
> Sounds good. I will work on it and send It back to you.
>
> On Thu , Jan 26, 2012 at 11:39AM, Jon A Haslett <jon.haslett@akulalaw.com> wrote:
>
> Dear Ram:
>
>
>
~ Attached   is your affidavit




                                                                                       DASARI 000004
Case 6:20-cv-00180-JDK Document 82-2 Filed 03/05/21 Page 3 of 4 PageID #: 2892




                  AFFIDAVIT OF RAMDHAN YADAV KOTAMARAJA

STATE OF MASSACHUSETTS               §
                                     §
COUNTY OF MIDDLESEX                  §

       ON THIS DATE, said Affiant personally appeared before me, the undersigned Notary

Public, and after being duly sworn, stated the following under oath:

   1. “My name is Ramdhan Yadav Kotamaraja. I am over fourteen (14) years of age and I am
      of sound mind. I have never been convicted of a crime and I am fully competent to make
      this affidavit. I have personal knowledge of each and every fact stated herein, and each
      and every fact stated herein is true and correct.

   2. I am a director of Novedea Systems, Inc. (Novedea), a Texas corporation registered with
      the Texas Secretary of State. The corporate offices of Novedea are located at 1750 North
      Collins Boulevard, Suite 212, Richardson, Texas 75080.

   3. Novedea was formed in May, 2005. Novedea’s business pursuit is to train and place
      workers at information technology (IT) companies throughout the United States, with an
      emphasis on placing workers who are primarily citizens of the United States or non-
      citizens of the United States who are citizens of India.

   4. In addition to myself, there are three other directors of Novedea: Srihari Govindarajan
      (Govindarajan) Suresh Rajappa (Rajappa), and Ananda Babu Dasari (Dasari). I own 35
      percent of the shares of Novedea, Govindarajan owns 39 percent of the shares, Rajappa
      owns 8.5 percent of the shares, and Dasari owns 17.5 percent of the shares.

   5. In late 2009, Novedea was a modestly-profitable business, with gross monthly revenues
      of approximately $25,000. However, the revenues of Novedea began to rapidly grow,
      and by 2011 Novedea had become a very profitable enterprise. Now gross monthly
      revenues average $165,000.

   6. I recently learned that in June 2011 Govindarajan and Rajappa formed another company,
      Intellisee Group, Inc. (Intellisee), which directly competes with Novedea in the IT
      industry. Govindarajan is the owner of Intellisee. The address for the corporate offices
      of Intellisee is 1200 West Walnut Hill Lane, Suite 3000, Irving, Texas 75038. I also
      learned that Govindarajan lured Rajappa away from Novedea to form Intellisee. Rajappa
      enticed a key trainer, Kishan Chandra Golla, away from Novedea to work at Intellisee.
      Rajappa did this under the guidance and approval of Govindarajan.

   7. Further, I learned that Intellisee was contacting clients of Novedea to sell them services,
      in direct competition with Novedea. Moreover, Intellisee is using the accountant
      employed by Novedea, Christopher Palaparthi, as the accountant for Intellisee, which
      threatens the disclosure of Novedea’s confidential information to Intellisee.



AFFIDAVIT OF RAMDHAN YADAV KOTAMARAJA – Page 1
                                                                              DASARI 000005
Case 6:20-cv-00180-JDK Document 82-2 Filed 03/05/21 Page 4 of 4 PageID #: 2893




   8. On January 21, 2012, a meeting was held of the directors and shareholders of Novedea.
      The attendees were me, Govindarajan, Rajappa, and Dasari. Dasari and I confronted
      Govindarajan and Rajappa with the knowledge that they had formed Intellisee.

   9. At the January 21, 2012 meeting, Govindarajan agreed with the other directors and
      shareholders of Novedea to work together to dissolve Novedea, or for Govindarajan to
      sell his shares to Novedea to the other shareholders, or for us to sell Novedea to a third
      party. The directors and shareholders agreed to meet again on February 11, 2012 to take
      action regarding one of the three options.

   10. On January 24, 2012, I learned that Govindarajan had the exterior lock to the entrance to
       Novedea changed without notice to anyone else at Novedea, and that only Govindarajan
       has a key to the new lock. This action by Govindarajan makes it impossible for
       employees to enter the offices of Novedea and perform their jobs.

   11. Novedea maintains two bank accounts. Bank of America account number      4621
       contains approximately $100,000. First Financial Bank of Texas account number
               6326 holds approximately $150,000. Only I and Govindarajan know the
       passwords to the accounts.

   12. On January 24, 2012, I learned that Govindarajan changed the passwords to our two bank
       accounts. Because of this, Noveda currently cannot carry out essential corporate
       functions, such as issuing payroll checks (which, bi-monthly, exceed $50,000),
       processing accounts receivable, or issuing checks for accounts payable.”

      FURTHER AFFIANT SAYETH NAUGHT.

      EXECUTED ON the ________ day of ____________________, 201___.



                                                          ______________________________
                                                          Ramdhan Yadav Kotamaraja


      SUBSCRIBED AND SWORN TO BEFORE ME ON the ________ day of

____________________, 201___.


                                                          ______________________________
                                                          Notary in and for the State of
                                                          Massachusetts




AFFIDAVIT OF RAMDHAN YADAV KOTAMARAJA – Page 2
                                                                             DASARI 000006
